 USCA11 Case: 21-13232           Document: 48-1         Date Filed: 11/02/2022        Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                       November 02, 2022

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 21-12458-X ; 21-13232 -X
Case Style: Music Specialist, Inc., et al v. Atlantic Recording Corporation, et al
District Court Docket No: 1:18-cv-25474-RAR

Counsel must acknowledge receipt of the attached calendar by docketing the "Calendar
Receipt Acknowledged" event in ECF.

The court has determined that the cases listed on the attached calendar are to be orally argued
during the week of 01/16/2023 in Miami, Florida. Counsel for each party must present oral
argument unless excused by the court for good cause shown. Please note that after the date of
this letter, any changes in or addition to counsel in the appeals listed on the attached calendar
requires leave of the court. See 11th Cir.R.34-4(e).

The names of the judges of the oral argument panel may be obtained by calling the Courtroom
Deputy shown below, no earlier than 01/03/2023.

If you have questions or concerns, please do not hesitate to contact the Calendaring/Court
Sessions Section in Atlanta, Georgia at (404) 335-6141.

Personal electronic devices, such as cellular telephones, "smart phones," laptop computers, and
tablet computers are not allowed beyond the courthouse's security checkpoint unless prior
approval has been obtained from a judge of the Court.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Stephanie Tisa
Phone #: (305) 579-4432

                                                            CAL-1 Oral Argument Calendar Issued
